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                  EXHIBIT L
Case 8:15-cv-00192-AEP Document 133-12
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                                       Ekberg
                                January 16, 2017                               ·

·1· · · · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · · · · · · · · · · · ·FOR THE
·2· · · · · · · · · · MIDDLE DISTRICT OF FLORIDA

·3· ·AMERICAN GENERAL LIFE
· · ·INSURANCE COMPANY,
·4
· · · · · · · ·Plaintiff,
·5
· · ·-vs-· · · · · · · · · · Civil Action No. 8:15-cv-192-T-AEP
·6
· · ·KEVIN H. BECHTEL, ET AL.,
·7
· · · · · · · ·Defendants.
·8· ·_______________________________/

·9

10

11· · · · · · · · · · DEPOSITION OF JOHN EKBERG

12· · · · · · · · ·Taken on Behalf of the Plaintiff

13

14· · · · · · ·DATE TAKEN:· January 16, 2017

15· · · · · · · · · ·TIME:· 10:01 a.m. to 11:03 a.m.

16· · · · · · · · · PLACE:· U.S. Legal Support, Inc.
· · · · · · · · · · · · · · 444 Seabreeze Boulevard, Suite 433
17· · · · · · · · · · · · · Daytona Beach, Florida

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24· · · · · · · · · Stenographically Reported by:
· · · · · · · · · · · Jennifer Lynn Harris, RPR
25· · · · · · · · ·Registered Professional Reporter


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                                       Ekberg
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   ·1· · · · want to take a break, I could probably dig something up   ·1· ·Life Brokerage Financial Group?
   ·2· · · · out of my car.                                            ·2· · · · A.· ·I believe that is correct, yes.
   ·3· · · · · · ·MR. MILLIAN:· That's all right.                      ·3· · · · Q.· ·So why was it necessary for the change request to
   ·4· · · · · · ·MR. DONAHUE:· Okay.                                  ·4· ·go through you?
   ·5· · · · · · ·MR. MILLIAN:· I'd rather not take the break.         ·5· · · · A.· ·Because of the hierarchy situation.· Because I was
   ·6· · · · Q.· (BY MR. DONAHUE)· Mr. Ekberg, I'm going to show you   ·6· ·the NMO.· The change in contracting is -- the normal
   ·7· ·what I've marked as Exhibit 2 to your deposition.· It          ·7· ·standard flow is that it would flow through our office.
   ·8· ·appears to be a memo from you to Dennis Monroe --              ·8· · · · Q.· ·If you look at the documents that you had provided
   ·9· · · · A.· ·Uh-huh.                                              ·9· ·from your office, starting on -- I had -- I've included --
   10· · · · Q.· ·-- dated March 26, 2007.                             10· ·or I had added these little Bates numbers --
   11· · · · · · ·Have you ever seen that before?                      11· · · · A.· ·Okay.
   12· · · · A.· ·I have.                                              12· · · · Q.· ·-- to the bottom of the page so that we can refer
   13· · · · Q.· ·Okay.· Do you recall drafting that memo?             13· ·to them.
   14· · · · A.· ·I do.                                                14· · · · A.· ·Okay.
   15· · · · Q.· ·Okay.· And it -- does it appear to relate to a       15· · · · Q.· ·I'm starting at Ekberg 5.
   16· ·contract change being requested by Gary Richardson and Kevin   16· · · · A.· ·Yes, I have it.
   17· ·Bechtel?                                                       17· · · · Q.· ·Okay.· So Ekberg 5 through 28, would these have
   18· · · · A.· ·Yes.                                                 18· ·been documents that you provided to American General that
   19· · · · Q.· ·Okay.· Can you -- based on that and your             19· ·relate to this requested change?
   20· ·knowledge, can you describable what was being requested at     20· · · · A.· ·Yes.
   21· ·that time?                                                     21· · · · Q.· ·And how did your office get these documents to
   22· · · · A.· ·Kevin Bechtel and Gary Richardson, to the best of    22· ·send?
   23· ·my knowledge and my dealings with them, were working           23· · · · A.· ·These are available on the company's Web site.· So
   24· ·together when we first contracted them.· And there were        24· ·there -- they always have the current contracting forms and
   25· ·things that, I believe, happened where I was contacted by      25· ·contracts on the Web site.

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   ·1· ·Gary Richardson saying that they wanted to do business         ·1· · · · Q.· ·Do you recall whether or not these forms were
   ·2· ·separately and they wanted to change the contract situation.   ·2· ·completed before they were sent to you?
   ·3· · · · · · ·So, after discussion, we were going to issue new     ·3· · · · A.· ·Completed by who?
   ·4· ·contracts to Gary Richardson in a different name and give --   ·4· · · · Q.· ·By either Mr. Bechtel or Mr. Richardson or someone
   ·5· ·assign Gary the MO, the second level in the hierarchy.· And    ·5· ·in their office, I guess, as opposed to your office
   ·6· ·it was requested that Kevin Bechtel be given an IMO contract   ·6· ·completing them.
   ·7· ·underneath -- directly underneath Gary Richardson's MO         ·7· · · · A.· ·Yeah.· I -- they were completed by Gary Richardson
   ·8· ·contract.                                                      ·8· ·and Kevin Bechtel.· And I -- I'm quite sure -- I'm -- I
   ·9· · · · Q.· ·Now, is it your recollection that Mr. Bechtel and    ·9· ·believe that they went to the Web site and got the contracts
   10· ·Mr. Richardson had created new entities?                       10· ·themselves, because these are contracts that they were using
   11· · · · A.· ·Yes.                                                 11· ·as they contracted people below them.
   12· · · · Q.· ·And just so I understand:· Is it your recollection   12· · · · Q.· ·Let me direct your attention to Ekberg 17.
   13· ·that, prior to this request, both Gary and Mr. Bechtel were    13· · · · A.· ·Okay.
   14· ·contracted through an entity called Life Brokerage Equity      14· · · · Q.· ·Can you identify what that is?
   15· ·Group?                                                         15· · · · A.· ·It's entitled "Agency Agreement," and it's -- it's
   16· · · · A.· ·That's what I remember, yes.                         16· ·for Kevin and signed by Kevin.
   17· · · · Q.· ·Okay.· And so here it appears that they are re --    17· · · · Q.· ·Now, there's only one page that -- in this stack
   18· ·they had created two other entities, correct?                  18· ·that you've provided that appears to relate to this agency
   19· · · · A.· ·Yes.                                                 19· ·agreement.· To your knowledge, was the agreement more
   20· · · · · · ·MR. MILLIAN:· Object to form.                        20· ·extensive than one page?
   21· · · · Q.· (BY MR. DONAHUE)· Is it your understanding that the   21· · · · A.· ·Yes.
   22· ·entity that was created by Mr. Bechtel was called Life         22· · · · Q.· ·Okay.
   23· ·Brokerage Partners?                                            23· · · · A.· ·There are the -- there is additional pages that
   24· · · · A.· ·I believe that's correct, yes.                       24· ·are boilerplate pages.
   25· · · · Q.· ·And would Mr. Richardson's new entity be called      25· · · · Q.· ·In your experience dealing with American General


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   ·1· · · · A.· ·Well, the application is here.                       ·1· · · · Q.· ·So, understanding your previous testimony, you --
   ·2· · · · Q.· ·Okay.· Would it have a different form code though?   ·2· ·it's your recollection that the application kit or what we
   ·3· · · · A.· ·I'd have to look.· I mean, it -- that will change    ·3· ·call it -- contracting kit --
   ·4· ·over years.· In this case, I'm looking -- it has a             ·4· · · · A.· ·Uh-huh.
   ·5· ·different -- 1058.· Yeah, it has a different number.           ·5· · · · Q.· ·-- would include a complete copy of the agent
   ·6· · · · Q.· ·I mean, for example, if I want to contract with      ·6· ·contract?
   ·7· ·American General today --                                      ·7· · · · A.· ·That's correct.
   ·8· · · · A.· ·Uh-huh.                                              ·8· · · · Q.· ·All right.· And that's something that people at
   ·9· · · · Q.· ·-- I go on their Web site, I click on the forms,     ·9· ·IMO and above levels would have had access to, correct?
   10· ·and I find a form that says "Agency Contract" or something     10· · · · A.· ·That's correct.
   11· ·similar, correct?                                              11· · · · Q.· ·And is it also your memory and your prior
   12· · · · A.· ·Yes.                                                 12· ·testimony that the -- that page 17 that we have been talking
   13· · · · Q.· ·And what would -- if I hit print on that, what       13· ·about is something that came from either Mr. Richardson or
   14· ·would print out?                                               14· ·Mr. Bechtel and was sent to your office?
   15· · · · A.· ·Well, it would be a contracting kit.· And the        15· · · · A.· ·That is correct.
   16· ·people that have access to that are people that are in the     16· · · · Q.· ·And you, in turn, sent that to American General,
   17· ·hierarchy high enough that recruit other people.· So you       17· ·correct?
   18· ·would hit on the contract kit and it would spit out the        18· · · · A.· ·That's correct, for approval.
   19· ·entire contract, including the boilerplate, the -- the         19· · · · Q.· ·And it was also your recollection and your
   20· ·application with the confidential personal information, all    20· ·practice that you sent the entire contract to American
   21· ·of that would be there.                                        21· ·General?
   22· · · · Q.· ·And what level of person do you need to be to be     22· · · · A.· ·Yes.
   23· ·able to access that application?                               23· · · · Q.· ·Now, is it a realistic possibility that a person
   24· · · · A.· ·You need to be at the IMO level.                     24· ·at the IMO level would have believed that their contract
   25· · · · Q.· ·Okay.· And what level was Mr. Bechtel at?            25· ·with American General would have only consisted of the page

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   ·1· · · · A.· ·I believe he was at the IMO level.                   ·1· ·that's marked as 17?
   ·2· · · · Q.· ·Okay.· Are there any documents, in the documents     ·2· · · · · · ·MR. MILLIAN:· Object to form.
   ·3· ·you've produced or anywhere else when you were looking for     ·3· · · · A.· ·I wouldn't -- no, I wouldn't think so, because
   ·4· ·these documents, that indicate to you that Mr. Bechtel         ·4· ·they're recruiting other people and filling out -- their
   ·5· ·and/or Life Brokerage Partners received anything but No. 17    ·5· ·office is filling out this paperwork.
   ·6· ·or saw anything but No. 17 in your production?                 ·6· · · · Q.· (BY MR. DONAHUE)· So, in terms of what the
   ·7· · · · A.· ·I can't say with any certainty, no.                  ·7· ·company -- American General did after the contract was
   ·8· · · · Q.· ·Was it always your practice to only keep page 17     ·8· ·approved, that would have been -- would that have been
   ·9· ·and then get rid of the additional terms and conditions?       ·9· ·something that would have happened between the company and
   10· · · · A.· ·Yes -- yes, it was, once the contract had been       10· ·Mr. Bechtel and Mr. Richardson or would you have been
   11· ·submitted, yes.                                                11· ·involved from that point?
   12· · · · Q.· ·And was that always American -- American General's   12· · · · A.· ·No, that would have been from the company to -- to
   13· ·practice?                                                      13· ·Kevin and Gary.
   14· · · · A.· ·Not to my knowledge, no.                             14· · · · Q.· ·For example, if sending, you know, countersigned
   15· · · · Q.· ·Okay.· Do you know when and if that ever changed     15· ·copies of the contract that we mentioned, that would have
   16· ·or did it not change?                                          16· ·happened directly from the company to Mr. Bechtel and/or
   17· · · · A.· ·I don't think it changed.                            17· ·Mr. Richardson?
   18· · · · Q.· ·You think they've kept it all?                       18· · · · · · ·MR. MILLIAN:· Object to form.
   19· · · · A.· ·They should have, yes.                               19· · · · A.· ·Yes.· As you see, I'm -- I'm really not a party to
   20· · · · · · ·MR. MILLIAN:· Okay.· I have nothing further.         20· ·the contract.· It -- the contract is directly from the
   21· · · · · · · · · · · ·REDIRECT EXAMINATION                       21· ·insurance company.
   22· ·BY MR. DONAHUE:                                                22· · · · · · ·MR. DONAHUE:· I believe that's all I have.
   23· · · · Q.· ·Just a couple points to clarify, it won't take but   23· · · · · · ·MR. MILLIAN:· Nothing.
   24· ·just a second, if you don't mind.                              24· · · · · · ·MR. DONAHUE:· Thank you.
   25· · · · A.· ·Sure.                                                25· · · · · · ·THE REPORTER:· Okay.· This concludes this


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